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                                                        United States Courts
                                                      Southern District of Texas
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